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4                             UNITED STATES DISTRICT COURT

5                            EASTERN DISTRICT OF CALIFORNIA

6

7    United States of America,                    No. 2:15-cr-00039-GEB
8                       Plaintiff,
9          v.                                     ORDER
10   EMILIO LARA,
11                      Defendant.
12

13                  Defendant    Emilio       Lara        seeks     dismissal       of    the

14   indictment, contending “the government’s decision to indict him

15   [constitutes         selective       prosecution       which]        violat[es]      his

16   fundamental         right [under the Fourteenth Amendment of the United

17   States Constitution] to equal treatment under the law.”                          Def.’s

18   Mot. 1:22-24, ECF No. 43 (citations omitted).                       The United States

19   opposes the motion arguing it lacks merit since Defendant “does

20   not   .    .   .   articulate    a   basis    for     his    selective      prosecution

21   argument.”         Gov’t Opp’n 1:20-21, ECF No. 47.

22                  The motion was filed after the prescribed deadline for

23   filing a pretrial motion under Rule 12 of the Federal Rules of

24   Criminal       Procedure.    Defendant       explains        this    late   filing    as

25   follows:

26                  [A] long-lasting, city-wide power outage in
                    San Francisco, the site of counsel’s office,
27                  prevented   counsel   from   accessing   its
                    electronic server where the draft of this
28                  motion was stored and from completing its
                                         1
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1                filing on the scheduled date. Counsel . . .
                 file[d Defendant’s] motion on the next court
2                day.

3    Def.’s Mot. 3 n.1.      The merits of the motion will be considered.

4                Defendant indicates in his motion that he recognizes it

5    lacks a sufficient factual basis to support dismissal, and that

6    he hopes he eventually receives discovery that provides a basis

7    for such a motion.      Defendant’s motion is premised solely on the

8    following   assertions:    He    is   accused   of    making    fraudulent   tax

9    returns for his “primarily non-English-speaking clients in his

10   local Latino community” and the prosecution concerns “only 38 of

11   [the 9,173] returns” he prepared during a four-year period, which

12   constitutes .4% of the returns he prepared.                Def.’s Mot. 2:18-24.

13               The United States counters:

14               [T]he grounds that Lara appears to suggest
                 would support his motion are without merit.
15               The mere fact that the government only
                 charged thirty-eight counts out of the many
16               returns filed by Lara does not in any way
                 indicate   that  other   similarly situated
17               individuals were not prosecuted or that the
                 prosecution was based upon an impermissible
18               motive.

19   Gov’t Opp’n 3:24-27.

20               To succeed on [his selective prosecution]
                 claim, Defendant must demonstrate that (1)
21               other similarly situated individuals have not
                 been prosecuted and (2) his prosecution was
22               based   on   an  impermissible   motive.   The
                 standard   for  proving   such   a  claim   is
23               particularly demanding, requiring a criminal
                 defendant    to  introduce    clear   evidence
24               displacing the presumption that a prosecutor
                 has acted lawfully.
25
     United States v. Sutcliffe, 505 F.3d 944, 954 (9th Cir. 2007)
26
     (citations and quotations omitted).
27
                 Defendant   has     not   sustained      his    burden   under   this
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                                            2
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1    standard.   Therefore, the motion is denied and the hearing on the

2    motion is vacated.       However, the status hearing scheduled to

3    commence at 9:00 a.m. on June 16, 2017 remains calendared.

4    Dated:   June 13, 2017

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